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6                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
7                                     AT TACOMA

8     TRACIE M. DERRICK, an individual                   Case No. 3:22-cv-5629
      resident of Washington,
9                                                        COMPLAINT
                              Plaintiff,
10
      v.                                                 JURY TRIAL DEMANDED
11
      CORE-MARK INTERNATIONAL, INC.,
12    a Delaware corporation; JEFFERY DEAN
      COOKE, an individual resident of Oregon;
13    and DOE DEFENDANTS 1-10,

14                            Defendants.

15
            Plaintiff Tracie M. Derrick, by and through her undersigned counsel, for her complaint
16
     and causes of action against Core-Mark International, Inc., Jeffery Dean Cooke, and Doe
17
     Defendants 1-10, hereby alleges as follows:
18

19                                    I.     NATURE OF ACTION

20          1.1      This is a diversity action for negligence and vicarious liability against the above-

     named defendants, arising from a major commercial truck crash that occurred on September 13,
21
     2019 in the State of Washington.
22

23

24                                                                           ROSSI VUCINOVICH P.C.
                                                                               1000 Second Avenue, Suite 1420
      COMPLAINT                                                                   Seattle, Washington 98104

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              1.2      In the early morning hours of that date, Defendant Cooke was operating a
2    tractor/semi-trailer plus full trailer combination commercial vehicle on Interstate-5 in southwest
3    Washington, on behalf of his employer or principal, Defendant Core-Mark.

4             1.3      Then and there, Defendant Cooke failed to abide by Washington laws and the

     standard of care governing the safe and proper operation of his vehicles, including his failures
5
     to: keep a proper lookout, safely control his speed, obey lawful traffic signs and warning signs,
6
     ensure that he was in a physical condition to safely operate his vehicle, and to avoid colliding
7
     with other vehicles, among other things. Each of these failures constitutes negligence.
8
              1.4      Defendant Core-Mark is vicariously liable for the tortious conduct of Defendant
9    Cooke.

10            1.5      Defendant Core-Mark also is separately liable for its negligence in failing to

11   properly train, supervise, inspect, and maintain its personnel and equipment, as well as for its

     failure to ensure compliance with legal and industry standards applicable to its various roles as
12
     an interstate commercial trucking company.
13
              1.6      As a proximate result of these and other failures, Defendant Cooke crashed his
14
     vehicle at full speed into the rear of a Washington State Department of Transportation truck that
15   was occupied and being operated by Plaintiff Tracie M. Derrick.
16            1.7      Plaintiff was severely injured in the crash, and has suffered significant economic

17   and non-economic damages as a proximate result, including being disabled from her job of injury.

18            1.8      Defendants are jointly and severally liable to Plaintiff for these harms and losses.

                                               II.     PARTIES
19
              2.1      Plaintiff Tracie M. Derrick is a natural person and resident of the State of
20
     Washington. She resides in this judicial district.
21
              2.2      Defendant Core-Mark International, Inc. (“Core-Mark”) is a corporation formed
22   and existing pursuant to the laws of the State of Delaware. Its principal place of business is in
23

24                                                                             ROSSI VUCINOVICH P.C.
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     Westlake, Texas. At all times material to the allegations stated here, Defendant Core-Mark was
2    present and conducting business in the State of Washington, and in this judicial district.
3            2.3      Defendant Jeffrey Dean Cooke (“Cooke”) is a natural person and resident of the

4    State of Oregon. At all times material to the allegations stated here, Defendant Cooke was present

     and conducting business in the State of Washington, and in this judicial district.
5
             2.4      Doe Defendants 1-10 are fictitiously-named persons or entities that, upon
6
     information and belief, were persons or entities who were legally responsible and liable in some
7
     manner for the acts or omissions at issue in this Complaint, and who proximately caused injury to
8
     Plaintiff. Such defendants may include any subsequently-identified product manufacturer, repair or
9    maintenance vendor or contractor, third-party contractor, general contractor, investigative or

10   enforcement agency, municipality or governmental entity, broker, shipper, carrier, or other person

11   or entity present or otherwise responsible for the activities of Defendants and/or the vehicles

     involved in this crash.
12
             2.5      The true names and identities of these Doe Defendants are presently unknown and
13
     unavailable to Plaintiff. If and when the true names and identities of these defendants are ascertained
14
     through further investigation and discovery, Plaintiff reserves the right to substitute the proper
15   names of such persons or entities, and such substitution shall relate back to the date of this
16   Complaint.

17                                III.    JURISDICTION AND VENUE

18           3.1      This Court has jurisdiction over the subject matter of this case pursuant to 28

     U.S.C. § 1332(a)(1).
19
             3.2      The amount in controversy in this case is in excess of the sum provided for in 28
20
     U.S.C. §1332(a).
21
             3.3      This Court has specific personal jurisdiction over the person of Defendant Core-
22   Mark because Defendant Core-Mark purposefully availed itself of the laws, benefits, and
23   protections of the laws of the State of Washington for purposes of conducting business for profit

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     within this judicial district, and because its acts and omissions at issue herein arose directly from
2    those contacts.
3            3.4       This Court has general personal jurisdiction over the person of Defendant Core-

4    Mark because that entity is present and regularly transacting business in this State, including in

     this judicial district.
5
             3.5       This Court has specific personal jurisdiction over the person of Defendant Cooke
6
     because Defendant Cooke has purposefully availed himself of the laws, benefits, and protections
7
     of the laws of the State of Washington for purposes of conducting business for profit within this
8
     judicial district, and because his acts and omissions at issue herein arose directly from those
9    contacts.

10           3.6       This Court has general jurisdiction over the person of Defendant Cooke because

11   he is regularly present and transacting business in this State, including this judicial district.

             3.7       This Court has supplemental jurisdiction over the person of Defendant Cooke.
12
             3.8       This Court has supplemental jurisdiction over the person of Defendant Core-
13
     Mark.
14
             3.9       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), because the acts
15   and omissions at issue herein occurred in this judicial district.
16                                  IV.     GENERAL ALLEGATIONS

17           4.1       On the evening of September 12, 2019, and into the early morning hours of

18   September 13, 2019, Plaintiff was part of a Washington State Department of Transportation

     (WSDOT) road construction crew that was performing work on northbound Interstate-5, just
19
     south of the crossing of State Route 121.
20
             4.2       As part of her job assignment that night, Plaintiff was working a mobile lane
21
     closure operation in that area.
22

23

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            4.3      To accomplish her duties, Plaintiff was occupying and operating a 2014
2    International    7000      work    truck    (WA      License     Plate:      XMT34243K;                       VIN#
3    1HTWLAZR7EH788411), which vehicle and role was assigned to her by her employer WSDOT.

4           4.4      Plaintiff’s vehicle was the rear-most vehicle in the road crew that was handling

     the lane closure operation.
5
            4.5      As part of her duties in that operation, Plaintiff was responsible for providing in-
6
     lane traffic protection for the work crew ahead of her.
7
            4.6      These vital safety duties included the need to keep her vehicle in her lane and for
8
     her truck to absorb any crash arising from motor vehicles traveling in the roadway behind her,
9    even if she knew that such an impact was likely to occur.

10          4.7      Around 1:00 A.M. on the morning of September 13, 2019, Plaintiff was

11   performing these duties. She had her truck-mounted chevron arrow lights activated to show the

     lane closure, and to direct traffic behind her to move out of the closed lane.
12
            4.8      Plaintiff was wearing her safety belt.
13
            4.9      Additional markings, signage, and road hazard notifications were present and
14
     visible south of Plaintiff’s location, also warning of the lane closure ahead.
15          4.10     At that time, while keeping a proper lookout, Plaintiff noticed a large commercial
16   truck bearing down on her location, at full freeway speed.

17          4.11     Plaintiff and her vehicle were clearly visible from the rear, with all required

18   vehicle lights active, plus reflective striping on the vehicle, and the chevron warning lights.

            4.12     Nevertheless, the oncoming truck did not change lanes or slow down as it
19
     approached her position.
20
            4.13     In response to this danger, and as she had been instructed and trained to do,
21
     Plaintiff stayed in her lane to protect her work crew in front of her. She accelerated forward prior
22   to impact, to lessen the substantial impact that she knew she was about to suffer.
23          4.14     She also reported this danger to her road crew on her employer-issued radio.

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            4.15      As she feared, the truck behind her did indeed crash into her vehicle at full freeway
2    speed, conveying tremendous force into the operator’s cabin, and causing Plaintiff to be thrown
3    about and suffer significant injury.

4           4.16      The truck that hit Plaintiff was a 2017 Freightliner tractor (IN License Plate

     2430403; VIN# 3AKJGEDV7HSHZ5495), which was pulling a semi-trailer (OR License Plate
5
     HU29606) and a second full trailer (OR License Plate HV01386).
6
            4.17      Defendant Cooke was operating these vehicles at the time of the crash.
7
            4.18      These vehicles were “commercial vehicles” within the meaning of the laws of the
8
     State of Washington.
9           4.19      Defendant Core-Mark owned, leased, or otherwise controlled, directed, and was

10   responsible for the operation of these vehicles at the time of the crash.

11          4.20      On information and belief, one or more of Doe Defendants 1-10 owned, leased,

     or otherwise controlled, directed, and was responsible for the operation of these vehicles at the
12
     time of the crash.
13
            4.21      Defendant Core-Mark and/or one or more of its employees or agents was
14
     responsible for the inspection, maintenance, and repair of these vehicles at the time of the crash.
15          4.22      On information and belief, one or more of Doe Defendants 1-10 was responsible
16   for the inspection, maintenance, and repair of these vehicles at the time of the crash.

17          4.23      Law enforcement responded to the scene of the crash, and conducted an

18   investigation.

            4.24      Defendant Cooke was cited for negligent driving in the second degree for his
19
     actions.
20
            4.25      Defendant Cooke paid this infraction, or caused it to be paid.
21
            4.26      No weather conditions or road conditions caused or contributed to this crash in
22   any material fashion.
23

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             4.27     The vehicle Plaintiff was occupying and operating at the time of the crash did not
2    cause or contribute to the crash in any material fashion.
3            4.28     Plaintiff did not make any wrongful error or omission that caused or contributed

4    to this crash or her injuries in any material fashion, and is entirely fault-free.
                                    V.     FIRST CAUSE OF ACTION
5                                       (Negligence – All Defendants)
             5.1      Plaintiff hereby incorporates and restates all allegations previously stated herein
6
     for purposes of this cause of action, as if separately set forth here.
7
             5.2      Defendants, and each of them, owed Plaintiff the duty to exercise reasonable care
8
     in the operation of their motor vehicles, including by complying with applicable law, and in such
9
     a fashion as to avoid colliding with her and causing her injury.
10           5.3      Defendants, and each of them, further owed Plaintiff the duty to exercise

11   reasonable care when inspecting, maintaining, and repairing their vehicles. They were required

12   to do so in a reasonably safe fashion, in compliance with applicable law, and in such a fashion as

     to avoid causing Plaintiff injury.
13
             5.4      Defendants Core-Mark and Doe Defendants 1-10, and each of them, further owed
14
     Plaintiff the duty to exercise reasonable care in the hiring, training, and supervision of their agents
15
     and/or employees, including Defendant Cooke.
16           5.5      Defendants, and each of them, breached one or more of these duties when they
17   caused their vehicles to crash into Plaintiff and her vehicle, as described above.

18           5.6      Specifically, but without limitation, Defendants' breaches include the following:

19                    5.6.1   Failing to keep a proper lookout when operating a motor vehicle;

                      5.6.2   Failing to operate a motor vehicle at a safe speed;
20
                      5.6.3   Failing to operate a vehicle safely for traffic conditions;
21
                      5.6.4   Failing to operate a vehicle safely in a construction zone;
22
                      5.6.5   Failing to yield to construction vehicles;
23                    5.6.6   Failing to obey lawful traffic signs and lane closure notifications;
24                                                                             ROSSI VUCINOVICH P.C.
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                     5.6.7   Failure to avoid colliding with other vehicles;
2                    5.6.8   Failing to ensure Defendant Cooke was in a physical condition to safely
3                            operate his vehicles;

4                    5.6.9   Failure to properly inspect, maintain, and/or repair the subject vehicles in

                             a fashion safe for use on public highways; and
5
                     5.6.10 Failure to hire, train, or supervise personnel in a reasonable fashion,
6
                             including Defendant Cooke, to ensure compliance with applicable laws
7
                             and regulations regarding safe operation of motor vehicles in a
8
                             commercial trucking context.
9           5.7      Each of these breaches constitutes negligence.

10          5.8      As a proximate result of one or more of these breaches of Defendants’ duties,

11   Plaintiff suffered serious physical and mental injuries, including disability, causing significant

     economic and non-economic damages, in an amount to be proven at trial.
12
            5.9      The crash and the injuries suffered by Plaintiff as a proximate result of the crash
13
     were foreseeable as a result of Defendants’ breaches.
14                              VI.     SECOND CAUSE OF ACTION
                 (Vicarious Liability – Defendant Core-Mark and Doe Defendants)
15
            6.1      Plaintiff hereby incorporates and restates all allegations previously stated herein
16   for purposes of this cause of action, as if separately set forth here.
17          6.2      Defendants Core-Mark and Doe Defendants 1-10 each were the employer and/or

18   principal of Defendant Cooke, at the time of the crash at issue in this case.

19          6.3      At all material times herein, Defendant Cooke was acting within the course and

     scope of his employment and/or agency with Defendants Core-Mark and/or Doe Defendants 1-
20
     10, specifically including when operating the commercial motor vehicles that crashed into
21
     Plaintiff and her vehicle.
22
            6.4      Defendant Cooke engaged in one or more breaches of duty owed to Plaintiff, as
23   otherwise alleged herein.
24                                                                             ROSSI VUCINOVICH P.C.
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            6.5      Defendants Core-Mark and Doe Defendants 1-10 each were the employer and/or
2    principal of certain third parties responsible for inspection, maintenance, repair, hiring, training,
3    and supervision of the personnel and/or vehicles involved in this crash.

4           6.6      At all material times herein, those third parties were acting within the course and

     scope of their employment and/or agency with Defendants Core-Mark and/or Doe Defendants 1-
5
     10, specifically including when inspecting, maintaining, repairing, hiring, training, or supervising
6
     personnel and/or vehicles that were involved in this crash, prior to the crash.
7
            6.7      These third parties engaged in one or more breaches of duty owed to Plaintiff, as
8
     otherwise alleged herein.
9           6.8      Defendant Core-Mark and/or Doe Defendants 1-10 are vicariously liable for the

10   tortious acts or omissions of their employees and/or agents, including but not necessarily limited

11   to Defendant Cooke, as alleged herein.

            6.9      As a proximate result of one or more of these employees’ and/or agents’ breaches,
12
     Plaintiff suffered serious physical and mental injuries, including disability, causing significant
13
     economic and non-economic damages, in an amount to be proven at trial.
14
            6.10     The crash and the injuries suffered by Plaintiff as a proximate result of the crash
15   were foreseeable as a result of these breaches.
16                                    VII.   PRAYER FOR RELIEF

17          Having stated the foregoing causes of action, Plaintiff now respectfully requests that the

18   Court award the following relief:

            7.1      A judgment in favor of Plaintiff and against Defendants, jointly and severally,
19
     awarding Plaintiff her past and future economic damages, in an amount to be determined at trial;
20
            7.2      A judgment in favor of Plaintiff and against Defendants, jointly and severally,
21
     awarding Plaintiff her past and future noneconomic damages, in an amount to be determined at trial;
22          7.3      An award of Plaintiff’s reasonable attorneys’ fees and costs incurred herein, to the
23   extent permitted by law; and

24                                                                           ROSSI VUCINOVICH P.C.
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            7.4       Such other relief as the Court may deem just and equitable under the
2    circumstances.
3

4    DATED: August 26, 2022                          ROSSI VUCINOVICH PC

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                                                  By: /s/ Benjamin T. G. Nivison
6                                                    Benjamin T.G. Nivison, WSBA #39797
                                                     Phone: 425.636.8003
7                                                    Fax: 425.646.8004
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8                                                    Of Attorneys for Plaintiff

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